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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                               MDL NO. 2179
       "DEEPWATER HORIZOIV" in the
       GULF OF MEXICO, on
       APRIL 20, 2010                                         SECTION: J

THIS DOCUMENT RELATES TO:

ALL CASES IN PLEADING BUNDLE                                 JUDGE BARBIER
SECTION HIB(3)                                               MAG. JUDGE SHUSHAN



                                              ORDER


       IT IS ORDERED that Clean-Up Responder Defendant Lane Aviation, Inc.'s Motion for

Leave to file its Statement of Undisputed Material Facts in Support of Lane Aviation, Inc.'s

Motion for Summary Judgment on Derivative Immunity and Preemption Grounds is GRANTED.

       The Clerk of the Court is directed to file Clean-up Responder Defendant Lane Aviation,

Inc.'s Statement of Undisputed Material Facts in Support of Lane Aviation, Inc.'s Motion for

Summary Judgment on Derivative Immunity and Preemption Grounds and associated Exhibits,

all of which are attached to Lane Aviation, Inc.'s Motion for Leave, into the record in the

captioned case.

       New Orleans, Louisiana, this             day of                               , 2012.




                                                      UNITED STATES DISTRICT JUDGE
